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                                                                  2                                     UNITED STATES DISTRICT COURT
                                                                  3                                   NORTHERN DISTRICT OF CALIFORNIA
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                                                                      DOLORES RAGUDO, ET. AL.,                           Case No.: 18-CV-05602-YGR
                                                                  6
                                                                                  Plaintiffs,
                                                                  7                                                      ORDER CONTINUING COMPLIANCE HEARING
                                                                             v.
                                                                  8
                                                                      CITY OF DALY CITY, ET. AL.,
                                                                  9
                                                                                  Defendants,
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                               Northern District of California
United States District Court




                                                                 13          The Court has received the parties’ Joint Status Report. (Dkt. No. 39.) In light of the
                                                                 14   representations therein, the compliance hearing set for the Court’s 9:01 a.m. calendar on Friday,
                                                                 15   December 13, 2019 is CONTINUED to the Court’s 9:01 a.m. calendar on Friday, February 14, 2020,
                                                                 16
                                                                      in Courtroom 1 of the United States Courthouse located at 1301 Clay Street in Oakland, California.
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                                                                             Five (5) business days prior to the date of the compliance hearing, the parties shall jointly file
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                                                                      either (a) a Stipulation of Dismissal; or (b) a one-page JOINT STATEMENT setting forth an explanation
                                                                 19
                                                                      regarding the failure to comply. If compliance is complete, the parties need not appear and the
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                                                                      compliance hearing will be taken off calendar.
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                                                                             Telephonic appearances will be allowed if the parties have submitted a joint statement in a
                                                                 22
                                                                      timely fashion.
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                                                                             IT IS SO ORDERED.
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                                                                      Date: December 6, 2019                           _______________________________________
                                                                 26                                                           YVONNE GONZALEZ ROGERS
                                                                 27
                                                                                                                             UNITED STATES DISTRICT JUDGE

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